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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
In re: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC

ANTITRUST LITIGATION MDL No. 1917

This Document Relates to: APPLICATION FOR ADMISSION OF
ATTORNEY PRO HAC VICE

ALL ACTIONS

(CIVIL LOCAL RULE 11-3)

I, James Lerner, an active member in good standing of the bar of New York, hereby respectfully
apply for admission to practice pro hac vice in the Northern District of California representing:
Panasonic Corporation, Panasonic Corporation of North America, and MT Picture Display Co., Ltd.,
in the above-entitled action. My local co-counsel in this case is Aldo Badini, an attorney who is a
member of the bar of this Court in good standing and who maintains an office within the State of
California.

MY ADDRESS OF RECORD: LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
Winston & Strawn LLP Winston & Strawn LLP

200 Park Avenue 3300 Hillview Avenue

New York, New York 10166 Palo Alto, CA 94304

My TELEPHONE # OF RECORD: LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
(212) 294-4621 (650) 858-6424

MY EMAIL ADDRESS OF RECORD: LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
Jlerner@winston.com abadini@winston.com

I am an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: 2371599.

A true and correct copy of a certificate of good standing or equivalent official document from
said bar is attached to this application.

I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

I declare under penalty of perjury that the foregoing is true and correg.
Dated: November 12, 2013 O-

SE-Z@
Zo. APPLICANT
&

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of James Lerner is granted, subject to the
terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance
pro hac vice. Service of papers upon, and communication with, local co-counsel designated in the
application will constitute notice to the party.

Dated:

UNITED STATES DISTRICT JUDGE

PRO HAC VICE APPLICATION & ORDER

